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                   IN THE UNITED STATES DISTRICT COURT                          FILED
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION
                                                                               AUG 09 20"
                                                    PATRICK '
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UNITED STATES OF AMERICA,
                                              CR ll-33-M-DWM
                          Plaintiff,

             vs.                              FINDINGS & RECOMMENDAnON
                                              CONCERNING PLEA
PAMELA SUE HAWK.,

                          Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of making false statements in

violation of 18 U.S.C. § lOOI(a)(I), as set forth in the Indictment filed against her.

After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against her and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty, and

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      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the

criminal charge set forth in the Indictment, and that sentence be imposed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

A2reement and the presentence report.

      DATED this 91h day of August, 2011.




                                           miah C. Lynch
                                          ited States Magistrate Judge




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